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                     IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF OKLAHOMA

 PAYNE EXPLORATION CO.,

        Plaintiff,

 v.                                                 Case No. CIV-15-818-D

 TRIDENT STEEL CORP.;
 COMMERCIAL METALS CO.;
 and A-JU BESTEEL CO., LTD.,

        Defendants.

                   PLAINTIFF’S RESPONSE TO DEFENDANT
                 TRIDENT STEEL CORP.’S MOTION TO DISMISS
                          AND BRIEF IN SUPPORT

       Defendant Trident Steel Corp. (“Trident”) asserts the allegations in the Complaint

do not support a legally cognizable claim by Payne Exploration Co. (“Payne”) for

negligence or constructive fraud. Trident does not challenge the sufficiency of the

allegations in the Complaint in respect to Payne’s claims for products liability, breach of

express warranty, breach of implied warranty and/or breach of contract.

       A party may set out two or more statements of a claim alternatively or

hypothetically, either in a single count or in separate ones. FED.R.CIV.P. 8(d)(2). If a party

makes alternative statements, the pleading is sufficient if any one of them is sufficient. Id.

See Smedsrud v. Powell, 61 P.3d 891, 897 n. 32 (Okla. 2002) (the pleader of a claim may

invoke and advance all alternative theories in a single trial; no plaintiff may be compelled

to make a choice among multiple theories in prosecuting a single claim).
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       Trident claims that, since Payne has alleged, inter alia, claims premised upon

contract, Payne cannot alternatively plead negligence claims arising from the same facts

and circumstances. Trident’s motion should be denied because: (a) Payne’s negligence

claim is an alternative and independent claim to Payne’s breach of contract claim; and, (b)

should Trident prevail on the breach of contract claim, Trident may remain liable to Payne

for Trident’s independent negligence arising from its breach of its implied obligation under

Oklahoma law to deliver non-defective goods. Similarly, if a jury should find that Trident

made representations as to the quality of the tubulars to be furnished to Payne (regardless

of whether a contract existed), and such representations were inaccurate, a claim for

constructive fraud exists under Oklahoma law.

                                    BACKGROUND

       This case arises out of a downhole failure of oil and gas well casing (the “Casing”)

that Payne purchased from Trident. The pipe was manufactured by A-Ju Besteel, and

imported by Commercial Metals Co. (“CMC”). Throughout the sale and distribution of

the Casing to Payne, Trident represented and warranted the Casing was American

Petroleum Institute (“API”) rated P-110 and HCP-110 casing. API rated P-110, or better,

pipe is designed to withstand the maximum burst and collapse pressures that Payne would

cause or encounter during the multi-stage frac operation for its horizontal well. The casing

acquired from Trident failed, causing Payne significant economic injury.

       At this early stage, Payne does not know: whether Trident had actual or constructive

knowledge that the Casing was defective; whether Trident was negligent in distributing the

Casing without proper and documented inspection or testing; and/or whether Trident’s

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representations as to API rating were made without Trident investigating or exercising due

care to determine whether the Casing was part of a manufactured Lot with known issues

as to defective pipe, whether it was manufactured from an unreliable manufacturer, and/or

whether the pipe was altered or damaged during transport and/or during testing or the

fitting of threads and collars. Accordingly, Payne asserts alternative theories of recovery

against Trident, sounding in both tort and contract, as well as products liability.

       Trident’s motion is contrary to Oklahoma and federal law. Oklahoma and federal

law permit a Plaintiff latitude in pleading multiple theories and claims, even if arising from

the same transaction. On a motion to dismiss, the Court accepts well-pleaded factual

allegations in the complaint as true, resolves all reasonable inferences in the plaintiff’s

favor, and then asks whether it is plausible that the plaintiff is entitled to relief. Diversey

v. Schmidly, 738 F.3d 1196, 1199 (10th Cir. 2013). Since Payne has sufficiently plead facts

supporting its claims for independent negligence and constructive fraud by Trident,

Trident’s motion to dismiss said claims should be denied.

                          ARGUMENT AND AUTHORITIES

I.     NEGLIGENCE

       A.      Payne Has Sufficiently Plead a Claim Arising from Trident’s
               Negligence, Independent of the Existence of A Contract Between Trident
               and Payne.

       Initially, it is noted that there is not a specific written contract between Payne and

Trident for the purchase and sale of the Casing. In its Motion, Trident is careful to avoid

the admission of any contractual relationship, referring to same as Payne’s “claimed

contractual relationship”. Motion, p. 4. Nevertheless, Trident argues because a breach of

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contract is asserted, same bars claims for negligence. The authorities relied upon by

Trident are not applicable to the facts of this case.

       In Davis v. PMA Cos., Plaintiff sued for inter alia, tortious breach of a stock

purchase contract. No independent tort existed apart from the alleged breach of contract.

Judge Cauthron refused to expand the limitations imposed by Oklahoma courts on tortious

breach of contract claims. Here, Payne has not sued for tortious breach of contract. Rather,

Payne has asserted an independent claim of negligence against Trident.

       In New Cingular Wireless, PCS, LLC v. Boone, Boone, a former officer of Dobson

Communications, was sued for over payments to Boone from Cingular’s buyout of

Dobson.      Boone counterclaimed alleging Cingular’s negligence in making the

overpayment. The Court found there was not a recognized “duty” to not overpay,

dismissing the negligence claim. Boone is inapplicable to the instant case since there is

unquestionably a common law duty to deliver non-defective goods in commerce. If Trident

breached this duty, a claim for negligence exists.

       In Chieftain Royalty Co. v. Dominion Oklahoma Texas E & P, Inc.,, Plaintiff lessors

sued their lessee claiming tortious breach of an oil and gas lease as a result of the lessee’s

alleged breach of the implied duty to deal fairly and in good faith. Judge Cauthron correctly

dismissed the claim since tortious breach of contract is limited by Oklahoma law to

contracts of adhesion or where a special relationship exists, neither of which were present

under the oil and gas leases at issue. Again, Payne has not sued for tortious breach of

contract. Chieftain is not applicable. .Contrary to Trident’s assertions, independent

negligence claims may be brought contemporaneously with products liability claims. See

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Braswell v. Cincinnati, Inc., 731 F.3d 1081, 1093 n. 4 (10th Cir. 2013) (“Oklahoma has

not eliminated a freestanding negligence claim for defective products . . .”); Honeywell v.

GADA Builders, Inc., 271 P.3d 88, 96 (Okla. Civ. App. 2011) (“Even with the advent of

strict products liability, the negligence cause of action remains available to a plaintiff

injured by a defective product.”).

          Here, while there is a breach of contract claim asserted in this case, Payne’s

negligence claim arises independently out of Trident’s breach of the duty to deliver non-

defective goods. So regardless of whether Trident made representations as part of an

express or implied contract to deliver API rated pipe, Oklahoma law holds negligence

remains a viable claim.

          Payne’s negligence claim is well plead. Under Bell Atlantic Corp. v. Twombly, 550

U.S. 544 (2007) the effective pleading standard is whether the claim asserted is plausible,

i.e., whether it sets forth enough facts to raise a reasonable expectation that discovery will

reveal evidence of the claim. Id. at 557. Even if the trier of fact believes a recovery is very

remote and unlikely, if the complaint is well-pleaded as such, the case should proceed. Id.

at 556.

          Trident claims Payne failed to assert any “representations” which occurred outside

the claimed contractual relationship. This is an inaccurate characterization of the assertions

in the Complaint. Certainly, there were express representations associated with the

negotiations and ordering of the pipe. There were also API representations made on the

invoice submitted by Trident to Payne for the sale of the Casing, after the pipe was

delivered and the contract performed. [Compl. ¶¶ 14-15].

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       More importantly, as plead, Trident assumed a duty, implied at law, to enter into the

stream of commerce, pipe that conformed to those representations and pipe that was non--

defective. Trident’s breach of this duty is the basis of Payne’s negligence claim. There is

a reasonable expectation that discovery will reveal specific reasons why Trident breached

that duty – either failure to investigate the quality of pipe from A-Ju Besteel, the

manufacturer, failure to inspect and test the pipe, or perhaps failure to properly machine

threads and collars onto the tubulars, but assertion of such reasons in the framework of the

Complaint are not required. Twombly, supra.

       II.      CONSTRUCTIVE FRAUD

       Constructive fraud is a breach of either a legal or equitable duty that does not

necessarily involve any moral guilt, intent to deceive, or actual dishonesty of purpose.

Faulkenberry v. Kansas City Southern Ry. Co., 602 P.2d 203, 206 (Okla. 1979). Liability

may be based on negligent or even innocent misrepresentation. Id. (citing U.S. Fibres, Inc.

v. Proctor & Schwartz, Inc., 358 F.Supp. 449 (6th Cir. 1975) (constructive fraud between

corporate parties)).   Constructive fraud has the very same legal consequence as actual

fraud, and may be invoked to prevent harm or to extend protection to recognized public

interests. Patel v. OMH Medical Center, Inc., 987 P.2d 1185, 1199 (Okla. 1999).

       A.       Payne met the heightened pleading standard for fraud claims.

       Trident asserts a FED.R.CIV.P. 9(b) defense that Payne did not set forth the

heightened pleading standard of “who, what, when, where, and how,” nor did it set forth

the time, place, and contents of the false representation; the identity of the party making



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the false statements; and the consequences thereof, as is required for fraud claims. [Mot.

5]. As shown below, Payne did meet the heightened pleading standard:

       The “who,” i.e., the identity of the party making the false statements, is Trident

through its agents. [Compl. passim].

       The “what” is Trident’s negligent or innocent misrepresentation of the quality and

fitness of the Casing, where Payne had a right to be correctly informed of facts regarding

the Casing. [Id. ¶¶ 14-15; 54-55].

       The “when,” i.e., the time, is throughout the parties’ transaction, which ranged from

the contract date of on or about October 30, 2012, to delivery on or about July 5, 2013, to

the date of the invoice. [Id. ¶¶ 11, 14, 16].

       The “where,” i.e., the place, is the Beecher 1-15H Well. [Id. passim].

       The “how” is Trident inducing Payne to purchase the Casing by negligent or

innocent misrepresentation of high API-grade casing, i.e., the content of the false

statements. [Id. ¶ 56].

       The consequences of the misrepresentation are that Payne relied on the negligent or

innocent misrepresentation of the Casing’s quality in purchasing the Casing from Trident,

and the Casing failed, causing financial injury. [Id. ¶¶ 24-26, 56].

       B.      Trident’s Defective Performance – Delivery of Bad Pipe, Gives Rise to
               Tort.

       Trident cites the Oklahoma case Smith v. Johnson, 591 P.2d 1260, 1262 (Okla.

1978) as stating, “[T]he remedy of a finished product not conforming to the contract is non-

performance and not one based on fraud.” Immediately following that quote, however, the


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Court cited Prosser, Law of Torts (4th ed., 1971), § 92, upon which the Court ultimately

relies to affirm a judgment in tort arising from the installation of defective electrical wiring.

Homeowner had sued the home builder asserting both contract and tort theories of

recovery. At trial, the Plaintiff elected to proceed under tort and the jury awarded actual

and punitive damages. As noted by the Court in Smith:

       Prosser acknowledges the relation between remedies in contract and tort as a
       confused field. He speaks of the early developed dividing line of
       “nonfeasance,” which meant not doing the thing at all, and “misfeasance,”
       which meant doing it improperly. He says that division is scorned but
       generally followed, for it draws a valid line between the complete non-
       performance of a promise, which in the ordinary case is a breach of contract
       only, and a defective performance, which may also be a matter of tort.

Smith, 591 P.2d at 1262-63 (emphasis added). The present case is not an issue of

nonfeasance; rather, it is an issue of defective performance, which may also be a matter of

tort under Oklahoma law.

       First Security Bank v. Taylor, 964 F.2d 1053 (10th Cir. 1992), merely quotes Smith

and is inapplicable to the present case. In Taylor, the issue was the breach of an oral

contract to loan additional monies outside a guaranteed loan by the bank. Id. at 1055. It

did not have to do with representations of the quality of goods delivered under a contract.

       C.      Payne’s claim for constructive fraud is otherwise adequate.

       Trident also asserts that Payne’s constructive fraud claim is merely based on

Trident’s failure to provide non-conforming goods. While it is in part based on this failure,

the main motivation behind the constructive fraud claim is to hold Trident responsible for

its negligent or innocent misrepresentation under Oklahoma law.                   Whether the

misrepresentation was negligent or innocent will be determined as the case progresses.

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       Trident states in its Motion, “Instead, Payne generically states Trident made

‘representations’ which it now claims were, in fact, misrepresentations.” [Mot. 6]. Payne’s

allegations are not generic: Trident represented a certain quality of casing in

communications with Payne, as well as on the invoices. [Compl. ¶¶ 14-15]. When the

Casing proved defective, the inescapable conclusion is that the representation made by

Trident was wrong. Whether negligently or innocently made is immaterial under a claim

for constructive fraud. As Twombly instructs, supra, the standard on a motion to dismiss is

plausibility. Given the facts plead, it is almost a certainty that discovery will reveal

evidence of constructive fraud on the part of Trident.

                                     CONCLUSION

       WHEREFORE, Plaintiff Payne Exploration Co. requests the Court to deny the

Motion to Dismiss of Defendant Trident Steel Corp.

       Dated this 21st day of September, 2015



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                            CERTIFICATE OF SERVICE

       I certify that on the 21st day of September, 2015, I electronically transmitted the
attached document to the Clerk of the Court using the ECF System for filing and transmittal
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